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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                                               )             8:09CR79
                             Plaintiff,        )
                                               )
       vs.                                     )             ORDER
                                               )
EDUARDO TORRES-SAMANIEGO,                      )
VERONICA SANCHEZ-MURILLO,                      )
JORGE MORA-SANCHEZ,                            )
HERACLIO CHAIDEZ-GUZMAN and                    )
SAUL CHAIDEZ-GUZMAN,                           )
                                               )
                             Defendants.       )
       This matter is before the court on the motion for an extension of time by defendant
Veronica Sanchez-Murillo (Sanchez-Murillo) (Filing No. 70). The Sanchez-Murillo seeks an
additional thirty days in which to file pretrial motions. Moving counsel represents that
government's counsel has no objection to the motions. Sanchez-Murillo’s counsel represents
Sanchez-Murillo will file an affidavit wherein she consents to the motion and acknowledges
the additional time will be excluded under the computations of the Speedy trial Act. Upon
consideration, the motion will be granted and the pretrial motion deadline will be extended as
to all defendants in this matter.
       IT IS ORDERED:
       Sanchez-Murillo’s motion for an extension of time (Filing No. 70) is granted. All
defendants in this matter are given until on or before May 29, 2009, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendants in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between April
27, 2009 and May 29, 2009, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant’s counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 27th day of April, 2009.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
